18-08245-rdd       Doc 20      Filed 09/05/18       Entered 09/05/18 13:16:34             Main Document
                                                   Pg 1 of 2


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                                      Chapter 11

THE GREAT ATLANTIC & PACIFIC TEA                            Case No. 15-23007-rdd
COMPANY, INC., et al.,1
                                                            Jointly Administered
                  Debtors.
THE GREAT ATLANTIC & PACIFIC TEA                            Adv. Pro. No. 18-8245-rdd
COMPANY, INC., et al.,
                  Plaintiff,

         - against -

PEPSICO, INC.; BOTTLING GROUP, LLC
(d/b/a Pepsi Beverages Company and f/d/b/a
The Pepsi Bottling Group); FRITO-LAY
NORTH AMERICA, INC.; QUAKER SALES
AND DISTRIBUTION, INC.; MULLER
QUAKER DAIRY, LLC; STACY’S PITA
CHIP COMPANY, INC.; PEPSI BOTTLING
GROUP, NJ; and PEPSI USA,
                     Defendants.

                  STIPULATION AND ORDER FURTHER EXTENDING
                TIME TO RESPOND TO SECOND AMENDED COMPLAINT

         IT IS HEREBY STIPULATED AND AGREED, by and between the parties’ undersigned

counsel, that Defendants’ time to answer or otherwise respond to the Second Amended

Complaint, filed August 17, 2018, is hereby extended through September 28, 2018.




1
  The Debtors are: 2008 Broadway, Inc.; The Great Atlantic & Pacific Tea Company, Inc.; A&P Live Better, LLC;
A&P Real Property, LLC; APW Supermarket Corporation; APW Supermarkets, Inc.; Borman’s, Inc.; Delaware
County Dairies, Inc.; Food Basics, Inc.; Kwik Save Inc.; McLean Avenue Plaza Corp.; Montvale Holdings, Inc.;
Montvale-Para Holdings, Inc.; Onpoint, Inc.; Pathmark Stores, Inc.; Plainbridge LLC; Shopwell, Inc.; Super Fresh
Food Markets, Inc.; The Old Wine Emporium of Westport, Inc.; Tradewell Foods of Conn., Inc.; and Waldbaum,
Inc.
18-08245-rdd     Doc 20    Filed 09/05/18    Entered 09/05/18 13:16:34       Main Document
                                            Pg 2 of 2


Dated: September 4, 2018

/s/ David N. Crapo                                /s/ Jeffrey Chubak
David N. Crapo                                    Jeffrey Chubak
Philip J. Duffy                                   STORCH AMINI PC
GIBBONS P.C.                                      140 East 45th Street, 25th Floor
One Gateway Center                                New York, New York 10017
Newark, New Jersey 07102                          (212) 490-4100
(973) 596-4500                                    jchubak@storchamini.com
dcrapo@gibbonslaw.com
pduffy@gibbonslaw.com                             - and -

Attorneys for Plaintiff                           Joseph D. Frank (admitted pro hac vice)
                                                  Jeremy C. Kleinman (admitted pro hac vice)
                                                  FRANKGECKER LLP
                                                  325 North LaSalle Street, Suite 625
                                                  (312) 276-1400
                                                  jfrank@fgllp.com
                                                  jkleinman@fgllp.com

                                                  Attorneys for Defendants

SO ORDERED this 5th day of September, 2018


/s/Robert D. Drain

Honorable Robert D. Drain
United States Bankruptcy Judge




                                              2
